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                            CORRECTIONS              Date Filed                       Effective Date
                       Policies and Procedures

                                                               March 14, 2018                    June 1, 2018
Authority/References                                 Subject
KRS 196.035, 197.020, 197.023
                                                                  INMATE GRIEVANCE PROCEDURE
ACA 4-4284, 4-4394, 2-CO-3C-01, 2-CI-5A-2,
2-CI-5A-7, 28 CFR § 115.52



      I.        DEFINITIONS

                “Business days” means 8:00 a.m. to 4:30 p.m., Monday through Friday, excluding
                holidays.

                “Grievance Aide” means an inmate appointed to assist an inmate with filing a grievance
                and assist the Grievance Coordinator with assigned tasks.

                “Grievance Coordinator” means a staff person appointed by the Warden to monitor and
                regulate the operation of the inmate grievance procedure.

                “Grievant” means the inmate who brings the grievance.

                “Institutional Health Authority” means an employee of the Department of Corrections or
                of a contracted healthcare vendor with administrative responsibility for institutional
                healthcare operations who is appointed through the Department of Corrections Medical
                Director’s office. The Institutional Health Authority shall be a licensed medical
                professional.

      II.       POLICY and PROCEDURES

                A.     Applicability

                       This policy shall apply to:

                       1.     An inmate confined in an institution operated by the Department of
                              Corrections; and

                       2.     An inmate confined in any contract prison facility whose contract provides
                              for applicability. If the contract does not provide for this policy to be
                              applicable, then the facility shall have a grievance procedure with the final
                              review submitted to the Commissioner of the Department of Corrections.
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       B.      Grievable Issue

               A grievable issue shall include any aspect of an inmate’s life in prison that is not
               specifically identified as a non-grievable issue. A grievable issue may include:

               1.       Personal and social services needs;

               2.       Corrections policies and procedures;

               3.       Institutional policies and procedures;

               4.       Personal action by staff;

               5.       Staff conflict; or

               6.       Health care concern.

       C.      Non-grievable Issues

               1.       Appeal of court decision or order;

               2.       Parole Board decision;

               3.       Non-departmental complaint; for example, Social Security benefits and
                        federal detainers;

               4.       Disciplinary procedures, Adjustment Committee decision, Unit Hearing
                        Officer decision, Adjustment Officer decision, or Warden’s review of these
                        decisions, incident where the grievant received a disciplinary report and
                        report has been dismissed;

               5.       Classification decision or appeal of a classification decision including
                        transfer denial, recommendation, or approval;

               6.       Decision concerning the award or denial of educational good time;

               7.       Rejected mail;

               8.       Open records or open records denial;

               9.       Sentence calculation;

               10.      SAP (Substance Abuse Program) approval, denial, and SAP dismissals;

               11.      Risk and Needs Assessment;
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               12.      Grieving on behalf of another inmate unless it pertains to an incident of
                        sexual abuse under PREA standard 28 CFR § 115.52(e)(1); or

               13.      PREA investigation findings.

       D.      Group Grievance

               The Grievance Coordinator may consolidate essentially identical grievances that
               are filed close in time and request roughly the same solutions.

               1.       One (1) or two (2) inmates shall be assigned to be the grievants of record,
                        to present the case during the Grievance Committee hearing, and to handle
                        the details of appeals.

               2.       The other essentially identical grievances shall be logged and consolidated
                        under the number of the group grievance, but shall not be separately
                        considered. The Grievance Coordinator shall notify all of the involved
                        inmates of the outcome of the group grievance.

       E.      Repetitious Grievances

               1.       An inmate shall not regrieve an issue that has been personally grieved
                        within the past six (6) months.

               2.       If an inmate files a grievance that is essentially identical to a grievance of
                        another inmate that has been filed and processed through the grievance steps
                        within the past six (6) months, the Grievance Coordinator may provide the
                        grievant with a copy of the Commissioner’s previous decision instead of
                        allowing the repetitive grievance to proceed through the normal process. If
                        the grievant is not satisfied with the previous decision, he may appeal
                        directly to the Commissioner. The grievant shall have three (3) business
                        days from the date of the receipt of the Commissioner’s previous decision
                        to file the appeal.

               3.       If the warden determines that an inmate or group of inmates has abused the
                        grievance procedure by filing numerous frivolous or harassing grievances,
                        the Warden may limit the number of grievances which may be filed by that
                        inmate or group of inmates. An inmate or group of inmates, whose
                        grievances have been limited, shall be allowed to file no more than one (1)
                        grievance every ten (10) business days. This limitation shall be placed into
                        effect for no more than six (6) months at which time the inmate may apply
                        to the Warden for removal of restricted status. Restrictions shall be
                        removed or extended for periods not to exceed six (6) months at each
                        application for release.

       F.      Extension Clause
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               1.       If any one (1) inmate files more than five (5) grievances in any one (1) work
                        week, the Grievance Coordinator may call a moratorium on the time limits
                        for those grievances.

               2.       If more than twenty (20) grievances are received by the Grievance
                        Coordinator at a minimum security facility in any one (1) work week, the
                        Grievance Coordinator may call a moratorium on the time limits for those
                        grievances.

               3.       If more than forty (40) grievances are received by the Grievance
                        Coordinator at a medium or maximum security facility in any one (1) work
                        week, the Grievance Coordinator may call a moratorium on the time limits
                        for those grievances. A moratorium may be called only if the processing of
                        these grievances may cause the processing of other filed grievances to be
                        unduly delayed.

               4.       If a moratorium on time limits is called, the affected grievances shall be
                        processed within a reasonable time given the other duties of the staff
                        involved and the affected grievants shall be notified in writing.

               5.       An inmate may request that his time limit be extended by the Grievance
                        Coordinator for just cause.

       G.      Grievance Coordinator

               1.       A Grievance Coordinator shall be appointed by the Warden.

               2.       The Grievance Coordinator shall:

                        a.     Schedule Grievance Committee hearings;

                        b.     Keep records, including an accurate written log of all grievances
                               submitted for filing and status;

                        c.     Monitor operation of the grievance process;

                        d.     Maintain a central grievance file, including the original grievance;

                        e.     Assist the Classification Committee in appointing Inmate Grievance
                               Aides;

                        f.     Ensure compliance with established time limits throughout the
                               process;

                        g.     Supervise and train all staff and inmates involved in this procedure;
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                        h.     Supervise the regular posting of summaries of grievance results
                               affecting the population at large;

                        i.     Submit requested reports to the Corrections Ombudsman in a timely
                               manner;

                        j.     Act as liaison to the Corrections Ombudsman;

                        k.     Attend scheduled meetings with the Corrections Ombudsman;

                        l.     Forward appeals to the Corrections Ombudsman’s Office; and

                        m.     Conduct the elections for inmate Grievance Committee members.

       H.      Grievance Aide

               1.       Each institution shall seek an adequate number of Grievance Aides to
                        provide access for the institutional inmate population.

                        a.     The Grievance Coordinator shall advertise Grievance Aide position
                               vacancies to the inmate population.

                        b.     Each applicant shall:

                               (1)    Read and write at a skill level appropriate to this position;
                                      and

                               (2)    Have at least ninety (90) days before meeting the Parole
                                      Board or serving out his sentence.

                        c.     A Grievance Aide may be dismissed for:

                               (1)    Inability to perform his job duties;

                               (2)    Poor performance of his job duties;

                               (3)    Misuse of responsibility; or

                               (4)    Institutional misbehavior which may reduce credibility as an
                                      aide.

               2.       The Grievance Aide shall:

                        a.     Assist the inmate in the informal resolution process as outlined by
                               institutional procedure;

                        b.     Counsel the inmate concerning the grievance process;
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                        c.     Assist the inmate in the preparation of grievance documents as
                               needed;

                        d.     Document in writing the informal action taken to resolve the
                               problem, unless excluded from a health care grievance;

                        e.     Keep an accurate file of previously decided grievances and
                               investigate an inmate grievance in light of past decisions, unless
                               excluded from a health care grievance;

                        f.     Record each grievance submitted for filing in a written log as
                               directed by the Grievance Coordinator;

                        g.     Forward the written grievance to the Grievance Coordinator;

                        h.     File a monthly report to the Grievance Coordinator regarding
                               grievance information; and

                        i.     Forward any requested report to the Ombudsman via the Grievance
                               Coordinator.

               3.       The aide shall be accessible to the general population and shall follow staff
                        instructions concerning providing access or visits to specialized units, such
                        as segregation.

       I.      Grievance Committee

               1.       The Grievance Committee shall be composed of:

                        a.     A minimum of two (2) inmates elected by the population at the
                               institution;

                        b.     Two (2) staff members; and

                        c.     One (1) non-voting chairperson.

               2.       The Grievance Coordinator shall not normally chair the committee.

               3.       An effort shall be made to include some supervisory staff at the level of
                        department head in the group of chairpersons.

               4.       Each institution shall determine the method of assigning and rotating the
                        committee chairperson position.

               5.       A sufficient pool of inmates shall be elected from the general population at
                        large at the institution for a six (6) month term.
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                        a.     A special election may be held by the Grievance Coordinator if the
                               pool reaches minimum occupancy.

                        b.     If a sufficient number of nominations have not been received to
                               warrant an election, the Grievance Coordinator may declare those
                               inmates who have been nominated as elected Grievance Committee
                               members.

                        c.     If the number of vacant inmate committee member positions makes
                               it difficult to proceed in an efficient manner with Grievance
                               Committee hearings, the Grievance Coordinator may temporarily
                               appoint inmates to the inmate pool, until a new election for the
                               inmate pool is held.

               6.       A committee member may be removed for:

                        a.     Inability to perform his duties;

                        b.     Poor performance of his duties;

                        c.     Misuse of responsibility; or

                        d.     Institutional misbehavior which may reduce the credibility of the
                               committee member.

                        Removal from the committee shall be the decision of the Grievance
                        Coordinator and Warden.

               7.       If a grievance is filed concerning a conflict with a staff member, that staff
                        member shall not serve as a member of the Grievance Committee reviewing
                        that grievance.

               8.       An employee involved in the informal resolution process shall be excluded
                        from serving as a member of the Grievance Committee that hears the
                        grievance.

       J.      Inmate Grievance Process

               This grievance process shall apply to all inmate grievances with the exception of
               grievances pertaining to health care concerns including medical, dental or mental
               health care services involving access to or the quality of these services. Grievances
               involving unfair or discriminatory treatment, safety, or sanitation in medical, dental
               or mental health care services shall be considered in this inmate grievance process.
               A second grievance process for health care concerns is stated later in this policy.

               1.       Step 1 – Filing the Grievance and Informal Resolution
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                      a.   Preparing and Filing the Grievance

                           (1)    The grievance shall be in writing and legible. It shall be
                                  contained within the space on the grievance form and one (1)
                                  additional page, if necessary. Attached evidence shall not be
                                  included in this page limit and a reasonable amount of
                                  documentary evidence may be allowed. A waiver of the
                                  page limit may be sought from the Grievance Coordinator.

                           (2)    A grievance about a personal and specific incident shall be
                                  filed within five (5) business days after the incident occurs.

                           (3)    There shall not be a time limit imposed on when a grievant
                                  may submit a grievance of an allegation of sexual abuse.

                           (4)    A grievance shall pertain to one issue. Separate grievances
                                  shall be filed for separate issues and unrelated incidents. A
                                  staff conflict grievance may contain more than one incident,
                                  but the incidents shall all relate to the staff conflict at issue.

                           (5)    The grievant shall include all aspects of the issue and
                                  identify all individuals in the “Brief Statement of the
                                  Problem” section of the written grievance so that all
                                  problems concerning the issue or individuals may be dealt
                                  with during step 1.

                           (6)    The grievant shall not use vulgar or abusive language that is
                                  unnecessary to explain the grievance. If the grievant uses
                                  this type of language the grievance may be rejected by the
                                  Grievance Coordinator as failing to comply with this
                                  procedure. If the grievance is rejected for this reason, a
                                  written explanation shall be provided to the inmate
                                  concerning the use of unacceptable language.

                           (7)    The grievant may list a reasonable number of inmate or staff
                                  witnesses or include statements from those who may have
                                  relevant information to present concerning the subject matter
                                  of the grievance.

                           (8)    The list of witnesses and any statements shall be submitted
                                  in writing with the grievance form.

                           (9)    An inmate filing a grievance concerning a staff member shall
                                  not suggest a specific form of disciplinary action.
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                           (10)    A grievance alleging a criminal act involving staff shall be
                                   reported by the Grievance Coordinator to the Warden.

                           (11)    The Grievance Coordinator may reject a grievance that does
                                   not comply with the grievance process requirements. If the
                                   grievance is rejected, a written explanation shall be provided
                                   to the inmate concerning the reason for the rejection. A
                                   rejected grievance shall still be recorded in the grievance log
                                   with a notation indicating that it was rejected.

                           (12)    The grievant shall attach a copy of supporting evidence. A
                                   copy of an inmate’s medical record or other document shall
                                   not be provided through the inmate grievance process.

                           (13)    An inmate or group of inmates shall not distribute a
                                   previously prepared grievance to another inmate for his
                                   signature. An inmate or group of inmates that are not
                                   Grievance Aides shall not prepare a grievance for another
                                   inmate without the approval of the Grievance Coordinator.
                                   If an inmate needs assistance in preparing a grievance, he
                                   shall consult with a Grievance Aide or the Grievance
                                   Coordinator.

                           (14)    A third party, including a fellow inmate, staff member,
                                   attorney, or outside advocate, may assist an inmate in filing
                                   a grievance relating to an allegation of sexual abuse and shall
                                   be permitted to file such a request on behalf of the other
                                   inmate.

                                   (a)    When a third party files a grievance on behalf of an
                                          inmate, the Grievance Coordinator shall contact the
                                          inmate the grievance is filed on behalf of to
                                          determine if the inmate agrees to have the request
                                          filed on his behalf.

                                   (b)    If the inmate declines, the grievance shall not be
                                          filed. The Grievance Coordinator shall document the
                                          inmate’s decision.

                                   (c)    If the inmate agrees, the grievance shall be filed and
                                          the inmate shall be advised that he shall be required
                                          to personally pursue any subsequent steps in the
                                          grievance process.

                      b.   Informal Resolution

                           (1)     After a grievance has been properly filed, an attempt to
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                                    resolve the problem shall be made through informal means.

                           (2)      Informal resolution may involve the Grievance Aide,
                                    Grievance Coordinator, department head, or institutional
                                    staff. The informal resolution step shall involve inquiries or
                                    discussions to attempt to resolve the grievance.

                           (3)      Interviews shall be made of up to five (5) witnesses, for
                                    whom a statement has not been provided by the grievant.
                                    The grievant shall provide sufficient justification on his
                                    grievance for the Grievance Coordinator to determine
                                    whether additional witnesses may be interviewed.

                           (4)      It may be determined on a case-by-case basis whether
                                    additional information is needed from a witness for whom a
                                    statement has already been filed.

                           (5)      For any witness who is interviewed, his statement shall be
                                    recorded in writing or by other appropriate means for use at
                                    other steps in the grievance process as needed.

                           (6)      The Grievance Aide or a staff member shall document in
                                    writing all attempts at informal resolution of the grievance.

                           (7)      The Grievance Aide, Grievance Coordinator, or other person
                                    acting with the Coordinator’s approval, who is handling the
                                    informal resolution step, shall have ten (10) business days
                                    within which to attempt to resolve the grievance informally.
                                    The Grievance Aide or Grievance Coordinator shall notify
                                    the grievant of the results of the informal resolution.

                           (8)      If the grievant is not satisfied with the outcome of the
                                    informal resolution step, within five (5) business days of the
                                    date of the notice of the informal resolution results, he may
                                    make a written request to the Grievance Coordinator that the
                                    Grievance Committee hold a hearing concerning his
                                    grievance.

                           (9)      A grievance involving allegations of a sexual offense shall
                                    not go through informal resolution or the Grievance
                                    Committee, but instead shall go directly to Step 3 after filing
                                    and be reviewed by the Warden. See CPP 3.22.

                           (10)     A grievance involving allegations that may place the
                                    grievant or other inmates in physical danger shall not go
                                    through informal resolution or the Grievance Committee,
                                    but instead shall go directly to Step 3, appeal to the Warden.
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                                     The Grievance Coordinator shall make this determination if
                                     the grievance meets this criteria.

              2.       Step 2 – Grievance Committee Hearing

                       a.    The Grievance Committee shall hear and make a recommendation
                             for each inmate grievance for which a hearing is requested, if the
                             grievant has appropriately complied with the requirements of the
                             grievance process.

                       b.    Staff conflict grievance

                             (1)     The Grievance Committee shall act as a fact finding body
                                     only in a staff conflict grievance. In this capacity, the
                                     committee shall review any information gathered by
                                     previous steps in the grievance process and may obtain
                                     additional information by interviews or written statements.

                             (2)     The Grievance Committee shall not recommend specific
                                     disciplinary actions to be taken against staff members.

                             (3)     A grievant may make a written request to the Grievance
                                     Coordinator that a grievance concerning a staff conflict not
                                     be heard by the Grievance Committee. The grievant may
                                     appeal the informal resolution directly to the Warden and
                                     proceed with Step 3.

                       c.    The Grievance Committee shall hear the grievance and produce a
                             recommendation within ten (10) business days after the inmate has
                             requested a hearing.

                       d.    The inmate shall attend the Grievance Committee hearing unless he
                             has an excused absence or the rules of the specific institution permit
                             or require otherwise. An excused absence requires prior approval
                             from the Grievance Coordinator. Failure by the grievant to attend
                             the hearing shall result in the grievance being dismissed by the
                             committee unless the rules of the specific institution permit or
                             require otherwise.

                       e.    The grievant may request that another inmate assist him at the
                             hearing. To have another inmate assist him at the hearing, the
                             grievant shall make the request for assistance in writing when he
                             requests the hearing and name the inmate from whom he wants
                             assistance. If the requested inmate becomes unavailable before the
                             hearing, then the grievant may request approval for a substitute
                             inmate from the Grievance Coordinator.
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                            The inmate assistant may be:

                            (1)     A Grievance Aide; or

                            (2)     Another inmate who is incarcerated in his institution. The
                                    assistant shall be limited to an inmate who is housed in the
                                    general population unless the rules of the specific institution
                                    permit or require otherwise.

                       f.   The Grievance Committee shall review the written grievance and
                            any other documentation that was submitted with the grievance or
                            that was gathered in the informal resolution step.

                       g.   The Grievance Committee may call a witness to appear at the
                            hearing or seek other information at the discretion of the Committee
                            Chairman.

                       h.   The Grievance Committee shall make a recommendation
                            concerning how to resolve the grievance after the hearing.

                            (1)     If a majority of the members of the Grievance Committee
                                    agree on a recommendation, but a minority dissents, the
                                    minority shall be given the option of having his views
                                    documented as well.

                            (2)     A split decision means that two committee members agree
                                    on a specific recommendation, but the remaining two
                                    committee members agree on a different recommendation.
                                    Both recommendations shall be numbered and documented.

                       i.   After the committee has reviewed the written grievance and held a
                            hearing, the committee shall inform the grievant of its
                            recommendation.

                       j.   If the grievant is dissatisfied with the committee’s recommendation,
                            he may appeal the grievance to the Warden. If the grievant appeals
                            the recommendation, the grievant shall use the appeal form provided
                            (attachment IV). The grievance appeal shall be limited to one (1)
                            page and state a basis for the appeal. The grievant shall have three
                            (3) business days from the date of the notice of the committee’s
                            recommendation to file his appeal with the Grievance Coordinator.
                            The Grievance Coordinator shall forward the appeal to the Warden.

                       k.   If the grievant is satisfied with the committee’s recommendation, he
                            shall give written notice of his satisfaction to the Grievance
                            Coordinator within three (3) business days from the date of the
                            notice of the committee’s recommendation. The Grievance
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                             Coordinator shall forward the grievance to the Warden for review of
                             the recommendation.

              3.       Step 3 – Appeal to Warden

                       a.    The Warden shall examine the grievance and make a decision. The
                             Warden’s decision shall be in writing and clearly state the reasons
                             for the decision.

                       b.    The Warden shall respond to the grievance within fifteen (15)
                             business days of receipt of the grievance from the Grievance
                             Coordinator. The Warden may send the grievance back to the
                             informal or committee stage if the grievance requires further
                             investigation or the grievance was not sufficiently answered to
                             enable a response. All time limits shall start over at the level to
                             which the grievance is returned for additional information.

                       c.    A grievant who is not satisfied with the Warden’s decision may
                             appeal that decision to the Commissioner. If the grievant appeals the
                             decision, the grievant shall use the appeal form provided
                             (attachment IV). The appeal shall be limited to one (1) page and the
                             grievant shall explain in the appeal why the Warden’s decision did
                             not resolve the grievance. The grievant shall have three (3) business
                             days from the date of the notice of the warden’s decision to file an
                             appeal to the Commissioner.

              4.       Step 4 – Appeal to the Commissioner

                       a.    If the Warden’s decision is appealed to the Commissioner, the
                             appeal form shall be sent with the grievance to the Commissioner’s
                             Office through the Grievance Coordinator.

                       b.    The Commissioner shall review the grievance appeal and make a
                             decision.

                       c.    The Commissioner’s decision shall be in writing and state the
                             reasons for the decision.

                       d.    The grievant may seek the assistance of the Grievance Aide in the
                             preparation of an appeal. The grievant may request an appeal form
                             from the Grievance Aide.

                       e.    The Commissioner shall respond to the grievance within fifteen (15)
                             business days from receipt of the appeal. If the Commissioner
                             determines further investigation or information is needed to enable
                             a response, the fifteen (15) business day response time shall be
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                                extended to allow completion of the investigation or gathering of the
                                information.

                5.       Time Limits

                         a.     If a time limit for a response from Corrections staff is not met at any
                                level, the grievant has the option of agreeing to a requested
                                extension of the time limit or having the grievance forwarded
                                without action to the next level of review. For a grievance related to
                                sexual abuse, the inmate shall be provided written notification of
                                any extension with the revised date in which a decision will be made
                                stated.

                         b.     If an inmate maintains that a grievance is of an emergency nature,
                                the Grievance Aide shall take it directly to the Grievance
                                Coordinator.

                                (1)     If, in the view of the Grievance Coordinator or designee, the
                                        grievance is an emergency, it shall be forwarded directly to
                                        the Warden or his designee.

                                (2)     The Warden shall make a decision or call a special meeting
                                        of the Grievance Committee.

                                (3)     In either event, action on the grievance shall be initiated
                                        within two (2) business days of the time the Grievance
                                        Coordinator receives the grievance for a grievance that is not
                                        related to sexual abuse.

                                (4)     For a grievance related to sexual abuse:

                                        (a)    A response at the Warden’s level shall be made
                                               within 48 hours; and
                                        (b)    A final decision by the Commissioner or designee
                                               shall be issued within five (5) calendar days.

        K.      Health Care Grievance Process

                The health care grievance process shall be used for grievances concerning health
                care concerns including medical, dental or mental health care services involving
                access to or the quality of these services. Grievances involving unfair or
                discriminatory treatment, safety, or sanitation in medical, dental or mental health
                care services shall be considered in the previous inmate grievance process.

                1.       Step 1 – Filing the Grievance and Informal Resolution

                         a.     Preparing and Filing the Grievance
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                           (1)     The grievance shall be in writing and legible. It shall be
                                   contained within the space on the grievance form and one (1)
                                   additional page, if necessary. Attached evidence shall not be
                                   included in this page limit and a reasonable amount of
                                   documentary evidence may be allowed. A waiver of the
                                   page limit may be sought from the Grievance Coordinator.

                           (2)     A grievance about a specific incident or specific health care
                                   decision shall be filed within five (5) business days after the
                                   incident or decision occurs.

                           (3)     A health care grievance may pertain to more than one health
                                   care issue. A health care grievance shall not contain issues
                                   that do not pertain to the health care of the grievant.

                           (4)     The grievant shall include all aspects of the issue and
                                   identify all individuals in the “Brief Statement of the
                                   Problem” section of the written grievance so that all
                                   problems concerning the issue or individuals may be dealt
                                   with during step 1.

                           (5)     The grievant shall not use vulgar or abusive language that is
                                   unnecessary to explain the grievance. If the grievant uses
                                   this type of language the grievance may be rejected by the
                                   Grievance Coordinator as failing to comply with this
                                   procedure. If the grievance is rejected for this reason, a
                                   written explanation shall be provided to the inmate
                                   concerning the use of unacceptable language.

                           (6)     The grievant may make a request to the Grievance
                                   Coordinator that Grievance Aides not have knowledge of the
                                   specific health care facts he raises in his grievance. Each
                                   institution may prescribe whether these requests shall be
                                   made in writing or by other method. Each institution shall
                                   establish a method to allow health care grievances to proceed
                                   without Grievance Aides obtaining knowledge of the
                                   specific health care facts of the grievance. Each institution
                                   may determine whether it is able to establish a process of
                                   filing sealed grievances so that Grievance Aides can perform
                                   duties such as logging or forwarding that do not require
                                   knowledge of the specific facts of the grievance or whether
                                   it prefers to establish a process that excludes Grievance
                                   Aides entirely.

                           (7)     The grievant shall execute an authorization to allow
                                   necessary institutional staff, grievance staff, health care
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                                     staff, and outside consultants (if used) to share or review
                                     health care information so that the grievance can be
                                     effectively handled.    The grievant may exclude the
                                     Grievance Aide from the authorization. If the grievant fails
                                     to execute an appropriate authorization, then he shall be
                                     considered to have failed to comply with the grievance
                                     process requirements.

                             (8)     The Grievance Coordinator may reject a grievance that does
                                     not comply with the grievance process requirements. If the
                                     grievance is rejected, a written explanation shall be provided
                                     to the inmate concerning the reason for the rejection. A
                                     rejected grievance shall still be recorded in the grievance log
                                     with a notation indicating that it was rejected.

                       b.    Informal Resolution

                             (1)     After a grievance has been properly filed, an attempt to
                                     resolve the problem shall be made through informal means.

                             (2)     The Grievance Coordinator shall forward a health care
                                     grievance to the Institutional Health Authority. The
                                     Institutional Health Authority shall respond, or designate a
                                     medical professional who has specific knowledge of the
                                     incident being grieved to respond, in an attempt at an
                                     informal resolution. The medical authority or designee shall
                                     make a written response to the grievance and shall return the
                                     grievance with response to the Grievance Coordinator within
                                     fifteen (15) business days after receipt of the grievance.

                       c.    If the matter cannot be resolved informally, the grievant may request
                             review by the Health Care Grievance Committee. This appeal shall
                             be made by making a written request for committee review to the
                             Grievance Coordinator within five (5) business days of the date of
                             the notice of the informal resolution results.

              2.       Step 2 – Review by Health Care Grievance Committee

                       a.    The Health Care Grievance Committee shall be composed of one (1)
                             to three (3) licensed health care professionals and shall be appointed
                             through the Department of Corrections Medical Director’s Office.

                       b.    Any employee involved in the informal resolution process of a
                             grievance shall recuse himself from the review of that grievance by
                             the committee. If the grievance pertains to a specific health care
                             provider, that health care provider shall recuse himself from the
                             review of that grievance by the committee.
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                         c.     The committee shall make a recommendation for each inmate
                                grievance presented to it that has complied with the requirements of
                                the grievance process.

                         d.     The committee shall meet and make a recommendation within
                                fifteen (15) business days of receipt of the grievance from the
                                Grievance Coordinator.

                         e.     The committee shall document its recommendation in writing and
                                notice of the recommendation shall be sent to the grievant.

                         f.     If the grievant is dissatisfied with the committee’s recommendation,
                                he may appeal the grievance for final administrative review. The
                                grievant shall have three (3) business days from the date of the
                                notice of the committee’s recommendation to file his appeal with
                                the Grievance Coordinator. If the grievant appeals the
                                recommendation, the appeal shall be made on the appeal form
                                provided (attachment IV) and limited to one (1) page. The inmate
                                shall state a basis for the appeal on the appeal form. The Grievance
                                Coordinator shall forward the appeal to the Department of
                                Corrections Medical Director’s Office.

                         g.     If the grievant is satisfied with the committee’s recommendation, he
                                shall give written notice of his satisfaction to the Grievance
                                Coordinator within three (3) business days from the date of the
                                notice of the committee’s recommendation. The Grievance
                                Coordinator shall forward the information to the Medical Director’s
                                Office for review of the recommendation.

                3.       Step 3 – Appeal for Final Administrative Review

                         a.      The Medical Director shall review the grievance and make a final
                                 decision. The Medical Director may seek information from a
                                 health care professional outside of the Department of Corrections
                                 prior to making a decision.

                         b.      The Medical Director shall issue a decision within twenty (20)
                                 business days after receiving the grievance if information is not
                                 sought from an outside source. The Medical Director shall issue a
                                 decision within fifteen (15) business days of receiving the
                                 information from the outside source, if information is sought.

        L.      Additional Extension Clause for Health Care Grievances

                1.       If the health care staff member responsible for the informal resolution of
                         health care grievances at an institution receives more than ten (10)
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                         grievances and they are due within two weeks of each other, then the
                         Grievance Coordinator may call a moratorium on the time limits for those
                         grievances.

                2.       If the Health Care Grievance Committee has more than twenty (20)
                         grievances waiting for review at one time, the Department of Corrections
                         Medical Director’s Office may call a moratorium on the time limits for
                         those grievances.

                3.       If the Department of Corrections Medical Director’s Office has more than
                         twenty (20) grievances waiting for review at one time, then the Medical
                         Director’s Office may call a moratorium on the time limits for those
                         grievances.

                4.       If a moratorium on time limits is called, the affected grievances shall be
                         processed within a reasonable time given the other duties of the health care
                         staff and the affected grievants shall be notified in writing.

        M.      Inmate Transfer

                1.       General Grievance

                         If the grievant is transferred from the institution for any reason, for example,
                         court, hospital or KCPC evaluation, the grievant may appoint another
                         inmate to act in his place with full power to appeal or not, as the appointed
                         inmate may decide.

                         a.      The appointment shall be submitted to the Grievance Coordinator in
                                 writing and signed by the grievant prior to release of the grievant
                                 from the institution.

                         b.      If the grievant fails to appoint another inmate to act for him, then
                                 any steps remaining at the institution shall be discontinued and the
                                 grievance dismissed upon his transfer. If prior to an inmate’s
                                 transfer, his grievance has already been appealed to the
                                 Commissioner, then his grievance shall not be discontinued by
                                 reason of his transfer.

                2.       Health Care Grievance

                         The grievant shall decide whether to continue with a health care grievance
                         that is still in the grievance process if he is transferred to another institution.

                         a.      To continue a grievance, the grievant shall notify in writing the
                                 Grievance Coordinator at his institution that he wants to continue a
                                 health care grievance prior to the transfer.
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                         b.     The Grievance Coordinator at the institution that the grievance was
                                filed shall retain the grievance information and see that records are
                                maintained concerning the grievance. The Grievance Coordinator
                                at the original institution and the institution where the inmate is
                                currently incarcerated shall work together to send notice to the
                                grievant of a recommendation or decision in the process.

                         c.     A grievance shall be discontinued if the written notice is not
                                provided as required in this section, unless the grievant has already
                                appealed the grievance for final administrative review.

        N.      Reprisal

                To ensure that inmate use of the grievance procedure shall not affect parole review,
                a grievance shall not be included in a resident institutional or central office record.

                1.       Any negative reference to an inmate’s use of the grievance procedure shall
                         not be included in his pre-parole progress report.

                2.       An individual who believes a reprisal has been made against him as a result
                         of using the grievance procedure may write to the:

                         a.     Institutional Grievance Coordinator;

                         b.     Warden; or

                         c.     Corrections Ombudsman.

        O.      Confidentiality of Grievances

                1.       All remarks and discussions between individuals involved in the formal
                         resolution process as they consider a grievance shall be confidential and
                         may only be shared with the Grievance Coordinator or the Grievance Aide.
                         Although efforts toward confidentiality shall be made, an inmate filing a
                         grievance shall be on notice by this policy that both staff and the inmate
                         involved in the grievance process have access to the content of the
                         grievance.

                2.       Access to the grievance file shall be limited to the Grievance Aide,
                         Grievance Coordinator, and Warden with the following exceptions:

                         a.     An individual involved in the active grievance resolution process
                                may have access to any file under consideration and upon request to
                                the Grievance Coordinator, to the file of a grievance considered
                                earlier;
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                         b.     The grievant shall be provided with one (1) copy of his grievance
                                form. The copy shall be given when the grievance is completed at
                                the institutional level. If an inmate requests a copy of the grievance
                                prior to the completed grievance being provided at the institutional
                                level, the inmate shall pay for the copy; and

                         c.     Other requests for access to a file may be granted at the discretion
                                of the Warden or designee.

                3.       A copy of the original grievance may be sent to a supervisor or appropriate
                         staff member for the purpose of investigation or informal resolution. A
                         copy of a grievance alleging a conflict with a particular staff member shall
                         be sent to an appropriate investigating person who shall discuss the
                         substance of the grievance with the affected staff member.

                4.       A copy of a completed grievance may be sent to appropriate supervisory
                         staff by the Warden for purposes of implementation of final decisions.

                5.       This policy and procedure shall be subject to the open records exceptions
                         set forth in KRS 197.023.

        P.      Revisions

                1.       Any revision of this grievance policy and procedure shall be provided to the
                         Corrections Ombudsman prior to implementation.

                2.       Any revision of an institutional inmate grievance procedure shall be
                         approved by the Corrections Ombudsman prior to implementation.

                3.       A revision to Corrections policy, administrative regulation, state or federal
                         law, or any change in Corrections practice or procedure which impacts a
                         previously rendered grievance decision may cause the decision to be
                         modified or rescinded.
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  Rev. 2018                                                                                  Attachment I
                                                                                                CPP 14.6
                               DEPARTMENT OF CORRECTIONS
                           INMATE GRIEVANCE INFORMATION FORM


   ________________________________________                        ___________________________
   NAME OF INSTITUTION                                             DATE FILED


          __________________________________                      ____________________________
                  GRIEVANT’S NAME                                     GRIEVANCE NUMBER

          __________________________________                      ____________________________
                GRIEVANT’S NUMBER                                 UNIT/HOUSING ASSIGNMENT



   SUBJECT MATTER OF GRIEVANCES (Circle One)                                    DUE DATES

   1. Department Regulations
   2. Canteen                                                        _____________________________
   3. Conflict with Staff                                                  Informal Resolution
   4. Food
   5. Furloughs
   6. Inmate Accounts                                                _____________________________
   7. Housing Assignments                                                  Grievance Committee
   8. Grievance Mechanism
   9. Institutional Physical Conditions
   10. Institutional Regulations
   11. Job Assignments                                               _____________________________
   12. Legal Services                                                  Warden/Administrative Review
   13. Mail
   14. Medical/Dental/Mental Health Services                                    Notes/ETC.
   a. Access to Health Care Services (Health Care Grievance)
   b. Quality of Health Care (Health Care Grievance)
   c. Unfair or Discriminatory Treatment (Regular Grievance)
   d. Safety or Sanitation (Regular Grievance)
   15. Personal Property
   16. Permission to Marry
   17. Recreation
   18. Religious Services
   19. Telephone Calls
   20. Treatment Program Assignments
   21. Trips away from the facility
   22. Visiting
   23. Sexual Offense (PREA Grievance)
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  Rev. 8/2015                                                                               Attachment II
                                                                                                CPP 14.6
                                 DEPARTMENT OF CORRECTIONS
                                   INMATE GRIEVANCE FORM


  NAME ___________________________________               INSTITUTION ______________________
  INSTITUTIONAL NUMBER _________________                 GRIEVANCE NUMBER _______________
  UNIT/HOUSING ASSIGNMENT ______________                 DATE RECEIVED ____________________

  BRIEF STATEMENT OF THE PROBLEM

  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ACTION REQUESTED
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  _____________________________ ___________ ______________________________________
  GRIEVANT’S SIGNATURE              DATE       GRIEVANCE AIDE’S SIGNATURE / DATE
  ____________________________________________________________________________________

                                  INFORMAL RESOLUTION STAGE

  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ________________________________________________________________________
  ____________________________         ___________       _______________________________________
  STAFF SIGNATURE                       DATE             GRIEVANCE AIDE’S SIGNATURE / DATE

  I am _____ or am not _____ satisfied with this informal resolution to my grievance. (You have 5 business
  days to forward this form to the Grievance Coordinator to request a hearing.)

  ________________________________________               ________________________________
  GRIEVANT’S SIGNATURE                                                DATE
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  Rev. 8/2015                                                                    Attachment III General
                                                                                              CPP 14.6

                                     GRIEVANCE COMMITTEE

  FINDINGS AND RECOMMENDATIONS                                          DATE ____________________

  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  ( ) I AM SATISFIED WITH THE RECOMMENDATION                          COMMITTEE MEMBERS:
      OF THE GRIEVANCE COMMITTEE
                                                                    __________________________
  ( ) I WISH TO APPEAL THIS RECOMMENDATION TO
      THE WARDEN. (You have 3 business days to                      __________________________
      forward this form to the Warden.)
                                                                    __________________________

                                                                    __________________________
  _______________________________________
  GRIEVANT’S SIGNATURE / DATE                                       __________________________
                                                                         CHAIRPERSON

  ___________________________________________________________________________________

                                         WARDEN’S REVIEW

  REVIEW AND DECISION                                  DATE OF DECISION ____________________

  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  ( ) I AM SATISFIED WITH THIS DECISION.

  ( ) I WISH TO APPEAL THIS DECISION TO THE COMMISSIONER.
      (You have 3 business days to forward this form to the Grievance Coordinator for the Ombudsman.)

  __________________________________                    ________________________________
  GRIEVANT'S SIGNATURE / DATE                           WARDEN’S SIGNATURE
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  Rev. 8/2015                                                               Attachment III Health Care
                                                                                             CPP 14.6

                            HEALTH CARE GRIEVANCE COMMITTEE

  FINDINGS AND RECOMMENDATIONS                                         DATE ____________________

  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  ___________
  ( ) I AM SATISFIED WITH THE RECOMMENDATION
      OF THE GRIEVANCE COMMITTEE

  ( ) I WISH TO APPEAL THIS RECOMMENDATION FOR
      ADMINISTRATIVE REVIEW. (You have 3 business
      days to forward this form to the Grievance Coordinator.)


  ________________________________________
  GRIEVANT’S SIGNATURE / DATE


                                     ADMINISTRATIVE REVIEW

  REVIEW AND DECISION                                    DATE OF DECISION ____________________

  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________
  __________________________________________________________________

                                                         ________________________________
                                                         MEDICAL DIRECTOR
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  Rev. 3/2006                                                                                Attachment IV
                                                                                                  CPP 14.6

                                  DEPARTMENT OF CORRECTIONS
                                    GRIEVANCE APPEAL FORM


  Please complete this form and attach it to your grievance. Explain why you are appealing this grievance to
  the Warden / Commissioner / Health Care Administrative Review (circle appropriate one).




   GRIEVANT’S NAME ____________________                GRIEVANCE NUMBER ____________________

   GRIEVANT’S NUMBER _________________                 INSTITUTION ____________________________

                                                       DATE APPEAL FILED _____________________

  _____________________________________________________________________________________

  _____________________________________________________________________________________

  _____________________________________________________________________________________

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   _________________________________________                      ___________________________
            GRIEVANT’S SIGNATURE                                             DATE
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Commonwealth of Kentucky                         CPP 14.6 Attachment V, Rev. 3/2006
Department of Corrections – Health Care Grievance Process
Authorization for Release of Patient Information
The undersigned patient authorizes as indicated below the disclosure of the patient’s health information:


 Name of Patient                                                     Inmate Number

 All dates
 Date(s) of Treatment to be Released


 Records and information to be released from:                                    Records and information to be released to:
 Department of Corrections and/or                                                Any Corrections staff, health care provider, or other
                                                                                 individual who is involved in the grievance process for the
                                                                                 handling of patient’s health care grievance including review
                                                                                 by an outside health care professional (if used in the
                                                                                 grievance process)

                                                                                    Grievance aides are to be excluded from this authorization if box is
                                                                                 checked.
Purpose of Disclosure:
Inmate Grievance Process

Information to be disclosed includes:
     Admission Records                         Progress Notes                                     Mental Health Records
     Discharge Instructions                    Physical Therapy Notes                             Complete Medical Records
     Radiology                                 Dental Records
     Laboratory                                Optometry Records                                  Other (Specify):
     Medication Records                        Physician Orders/Prescriptions
     History and Physical                      Medical Records from Outside Providers

*** I understand that the health records may contain information relating to testing, diagnosis, and/or treatment of hepatitis, HIV/AIDS, sexually
transmitted diseases, sickle cell disease, and drug and/or alcohol abuse. I authorize the release of these records, if they are located in my health records,
unless I have specifically marked out that type of record from this paragraph. ***

*** I understand that the health records may contain information that may relate to mental health, but are also medical in nature including but not
limited to medication prescriptions and monitoring, mental status, functional status, and symptoms. I authorize the release of these records. I
understand that this authorization does not include the separate mental health section of my medical record, unless it is marked specifically above.
***

REVOCATION AND TIME LIMITATION: I understand that this authorization may be revoked in writing at any time, except to the extent that
action has been taken in reliance on this authorization. Unless otherwise revoked, this authorization will expire one year from the date of signature.

DISCLOSURE: The grievance process is confidential and disclosure of information gathered in the process is prohibited from disclosure outside of
the grievance process without an authorization from the patient/inmate. Records pertaining to drug and/or alcohol abuse treatment are prohibited from
disclosure pursuant to 42 C.F.R. Part 2 unless further disclosure is expressly permitted by the written consent of the person to whom it pertains or as
otherwise permitted by 42 CFR Part 2. A general authorization for the release of medical or other information is NOT sufficient for this purpose.

I have read or been informed of the contents of this authorization and all areas were properly completed prior to my signature and I am aware that this
form is not required as a condition for treatment. The facility, its employees, and agents are hereby released from any legal responsibility or liability
for disclosure of the above information to the extent indicated and authorized herein.


 ____________________________________________
 Signature (Patient or Legal Representative and Title)                           Date

 ____________________________________________
 Signature of Witness (if Patient signs with mark)                               Date
